                      Case 1:05-cr-00127-OWW Document 60 Filed 01/26/07 Page 1 of 3
       A 0 199A (Qv. 3\87) Order Setting Conditions of Release                                                              Page I o   3     f Pagcs




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                      ZB&, -                     11 -           I
                                                                         , DISTRICT OF
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                 UNITED STATES OF AMERICA
                                         4;q 'L 5 2007    I




                                    v.
                                            3Y                  . -- .
                                                              L .            .-
                                                                              c2;<                        OF RELEASE

                                                                                     Case Number:
                                                                                                      /d5&                 00127 owLC)
                               Defendant      m@&
               IT IS ORDERED that the releasc of the defendant is subject lo the following conditions:

                 ( I ) The defendant shall not com~nitany offensc in violati011of federal, state or local law while on relcase in this
                        case.

                 (2) The defendant shall in1medi:ltely advise the court, dcfcnse counsel and the U.S. attorney in writing of any
                     change in address and telephone number.

                 (3) The defendant sh;ill appear at all proceedings as required and shall



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                                                                                                D.I        Time




                                      Release on Personal Recognizance or Unsecured Bond
               IT IS FURTHER ORDERED that the defendant be released provided that:

        ( /)     (4) The defendant pronlises to appear a( all proccedings as required and to surrender for service of ally sentence
                      imposed.

        (      ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States thc sum of

                                                                                                 dollars ($                          1
                      in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




WHITE COPY - COURT           YELLOW - D E F E N D A N T             BLUE - U.S. ATTORNEY       PINK - U S . MARSHAL        G R E E N - PRETRIAL SERVICES
            Case 1:05-cr-00127-OWW Document 60 Filed 01/26/07 Page 2 of 3
MENPOZA; Serafin         ADDITIONAL CONDITIONS OF RELEASE
05-0127 OWW

          U p o n finding t h a t release b y one o f t h e a b o v e methods w i l l n o t b y itselfreasonably assure the appearance o f thedefendanl
a n d the safety o f o l h e r persons a n d the community, i t is W R T H E R O R D E R E D t h a t the release o f the defendant is subject t o the
conditions m a r k e d below:


( )       (6)        T h e defendant is placed in the custody oT:

                     N a m e o f person o r organization


w h o agrees (a) t o supervise the defendant in accordance w i l h a l l condilions o f release,
(b) to use every e f f o r t t o assure the appearance o f the defendanl a1 a l l scheduled c o u r t proceedings, a n d (c) t o n o t i f y the c o u r t
immediately in the event the defendant violates a n y conditions o f release o r disappears.


                     SIGNED:
                                           CUSTODIAN O R PROXY

(X)       (7)        The defendant shall:
          ( )        (a)      maintain or actively seek employment, and provide proof thcrcof to the PSO upon request.
          ( )        (b)      maintain or commence an educational program.
          ( )        (c)      abide by thc following restrictions on his personal associations, place ofabode, or travel:
                              Reside at a residence approved by Pretrial Services, and not move or be absent from this residence for more than 24 hrs.
                              without prior approval of PSO; travcl restricted to, unless otherwise approvcd in advance by PSO.
          ( )        (d)      avoid all contact with the following named persons, who are considered either allegcd victims or potential witnesses:
                              .unless in thc presence of counsel or otherwise approved in advance by the PSO.
          ( )        (e)      report on a regular basis to thc following agency:
                              Pretrial Services and comply with their rules and regulations.
          ( )        (0       comply with the following curfew:
          ( )        (g)      refrain from possessing a firearm, destruetive devicc, or other dangerous weapon.
          (1         (h)      refrain fromexcessive use ofalcohol, and any useorunlawlulposscssionofanarcoticdrugandothcr controlled substances
                              defined in 21 USC $802 unlcss prescribcd by a licensed medical practitioner.
          (1         (9       undergo medieal or psychiatric treatment andor remain in an institution, as follows: Including trcatment for drug andor
                              alcohol dependency, and pay for costs as approved by the PSO.
          ( )        GI       execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any ofthe conditions o f release, the
                              following sum ofmoney or designated property:
          ( )        (k)      post with thc court the following indicia or ownership of the above-described property, or the following amount or
                              percentage o f the above-describcd money:
          0          (1)      execute a bail bond with solvent surctics in the amount o f $
          ( )        (m)      rerum to custody each (week)day as o f o'clock after being released each (week)day as o f o'clock for employment,
                              schooling, or the following limited purpose(s):
          ( )        (n)      surrender any passport to the Clerk, United States District Court.
          f. ).
          (XI
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                     fol.
                     (PI
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                              obtain no oassoort durine the ocndencv~,~  o f this case.
                              all nrcv~ouslr,ordcrcd cond.t.ons u l rrlcssc shxll rem31nin t i l l forcc 2nd cficct
          ( I        (41      subrn~lto drug 3ndIur ~ l c o n otcsr~ng
                                                                l     as dircctcd by PSO
          ( 1        (9       report any prescriptions to PSO within 48 hours ofreeeipt.
          (XI        (s)      participate in the CURFEW component ofthc home confinement promamand abide by all therequirements ofthe program
                              wh~chw ~ l~ncludeclcctron~c
                                           l                   rnonitornp, 31 your own e\pensc YOL 3rc rcstr~cIcdto voLr res~dcncce\,cry day from 10 00
                                     .
                              p rn to 5 00 s rn .or as d~rcctcdb\ thc Prctri31 Scrv.ccs Officer




(Copies lo: Defendant, US Attorney, US Marshal. Pretrial Services)
Case 1:05-cr-00127-OWW Document 60 Filed 01/26/07 Page 3 of 3
